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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 23-mj-001 (GMH)
                v.                            :
                                              :
PATRICK O’BRIEN,                              :
                                              :
                       Defendant.             :

                                             ORDER

         Based upon the representations in the Unopposed Motion To Continue Status Hearing and

to Exclude Time Under the Speedy Trial Act, and upon consideration of the entire record, it is

hereby

         ORDERED that the Motion is GRANTED; it is further

ORDERED that the currently scheduled status hearing on March 16, 2023, be continued for

good cause to May 16, 2023 at 1 p.m.; and it is further

         ORDERED that the time between March 16, 2023 and May 16, 2023 shall be excluded

from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A). The Court finds that

the ends of justice served by the granting of such a continuance outweighs the best interests of the

public and the defendant in a speedy trial, as a continuance will provide the parties additional time

to continue negotiating a potential pretrial resolution, and additional time to review discovery.

                                                          Zia M. Faruqui
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                                      ___________________________________________
                                      THE HONORABLE ZIA M. FARUQUI
                                      UNITED STATES MAGISTRATE JUDGE
